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                                UNITED STATES DISTRICT COURT
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                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                      SOUTHERN DIVISION
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14    G. M. a Minor, by JOSE MAYA, her             Case No. SACV 20-01043 JVS (DFMx)
      Guardian Ad Litem,                           ORDER
15
16                Plaintiff,
17                       v.
18    ST. MARY’S HOSPITAL OF LONG
19    BEACH, et al.,
                                                   Honorable James V. Selna
20                Defendants.
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            IT IS HEREBY ORDERED that Defendant United States be dismissed from the
25
      above-captioned action without prejudice, each party to bear their own costs and fees.
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            IT IS HEREBY FURTHER ORDERED that the action between Plaintiff and
27
      Defendants Fred Adams, M.D. (sued herein as FRED ADAMS, M.D., aka FRAIDON
28
     Case 8:20-cv-01043-JVS-DFM Document 23 Filed 06/30/20 Page 2 of 2 Page ID #:301




1     BABANEJADYANGHEDJEN), Jazmin Cruz (sued herein as JASMINE CRUZ, M.A.,
2     fictitious defendant Doe 151), and Does 1-500, is remanded to the Superior Court of the
3     State of California, County of Los Angeles.1
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       Dated: June 30, 2020
7                                                    ________________________________
8                                                    JAMES V. SELNA
                                                     UNITED STATES DISTRICT JUDGE
9
10    Presented by:
11    NICOLA T. HANNA
      United States Attorney
12    DAVID M. HARRIS
      Assistant United States Attorney
13    Chief, Civil Division
      JOANNE S. OSINOFF
14    Assistant United States Attorney
      Chief, General Civil Section
15
16    /s/ Gwendolyn M. Gamble
      GWENDOLYN M. GAMBLE
17    Assistant United States Attorney
18    Attorneys for Defendant UNITED STATES
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              The claims against former Defendants Dignity Health dba St. Mary Medical
27    Center (sued herein as St. Mary’s Hospital of Long Beach), CHLB LLC dba College
      Medical Center (sued herein as College Medical Center),United States, Clinica Sierra
28    Vista and Bruce B. Taylor, D.O., are not remanded as they are no longer parties. [Dkt.
      Nos. 8, 10, 11 and 19]
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